     Case 1:17-cv-00493-JAO-RT Document 218 Filed 09/27/24 Page 1 of 3 PageID.6415
HID 007A (Rev. 02 /14) Motion to Appear Pro Hac Vice

                                            UNITED STATES DISTRICT COURT
                                                                    for the
                                                            District of Hawaii

                                                                    )
                                                                    )
                                                                    )
                                                                              Case No.
                             Plaintiff                              )
                                                                    )
                               v.                                   )
                                                                    )
                                                                    )
                             Defendant                              )
                                                                    )

                                MOTION TO APPEAR PRO HAC VICE
(Attach Declaration of Counsel in support of motion. $300.00 assessment required to be paid through Pay.gov.)

 Name of Attorney:
 Firm Name:
 Firm Address:

 Attorney CM/ECF
 Primary email address:
 Firm Telephone:                                                         I Firm Fax: I
 Party Represented:

 Name/Address
 of Local Counsel

 Pursuant to LR 83.1(e) of the Local Rules of Practice for the United States District Court for the District of Hawaii, the undersigned
 applies for an order permitting the above-named attorney to appear and participate as counsel pro hac vice for the above-named
 party in all matters in the above-captioned case or proceeding. This request is based on the declaration of the attorney seeking to
 appear pro hac vice.


    September 25, 2024                       /s/ Jongwook "Wookie" Kim                Jongwook "Wookie" Kim
              Dated:                                   Signature*                             (Print name if original signature)



*If this motion is being signed by local counsel on behalf of the applicant, the signature constitutes consent to the
designation as associate counsel; otherwise such consent shall be filed separately.
        Case 1:17-cv-00493-JAO-RT Document 218 Filed 09/27/24 Page 2 of 3 PageID.6416
HID 007A (Rev.02 /14) Declaration of Counsel

                                         UNITED STATES DISTRICT COURT
                                                                for the
                                                         District of Hawaii

                                                                    )
                                                                    )
                                 Plaintiff                          )        Case No.
                                                                    )
                                    v.
                                                                    )
                                                                    )
                                                                    )
                                 Defendant                          )
                                                                    )


                                                   DECLARATION OF COUNSEL
                                               (Attach to Motion to Appear Pro Hac Vice.)

 Name of Declarant:          I
 I am not a resident of the District of Hawaii, am not regularly employed in the District of Hawaii, and am not regularly
 engaged in business, professional or law-related activities in the District of Hawaii, and that:

     1. The city and state of my residence and office address is:
         New York, New York



     2. I have been admitted to practice in the following courts on the dates noted:
         New York Appellate Division, Third Judicial Department (Bar No. 5919618), admitted on Jan. 20, 2022
         U.S. Court of Appeals for the 2nd Circuit, admitted on July 28, 2021



     3. I am in good standing and eligible to practice in the following courts (declarant may state “All of the courts
        identified in paragraph 2"):
         All of the courts identified in paragraph 2.




     4. I (a) am not currently involved in disciplinary proceedings before any state bar, federal bar, or any equivalent;
        (b) have not in the past 10 years been suspended, disbarred, or otherwise subject to other disciplinary proceeding
        before any state bar, federal bar, or its equivalent; (c) have not been denied admission pro hac vice by any court or
        agency in the past 10 years; and (d) have not been the subject of a criminal investigation know to the attorney or
        a criminal prosecution or conviction in any court in the past ten (10) years.
         Yes.
     Case 1:17-cv-00493-JAO-RT Document 218 Filed 09/27/24 Page 3 of 3 PageID.6417
         5.        If I am concurrently making or have made within the preceding year a motion to appear pro hac vice in
                   a case or proceeding in the District of Hawaii, the title and number of each matter is stated below,
                   together with the date of the motion and whether the motion was granted.
                   Not applicable.




         6.        I designate the following to serve as associate counsel who is a member in good standing of the bar of
                   the United States District Court for the District of Hawaii and maintains an office in this district, with
                   the address, telephone and fax numbers, and e-mail address noted:
                   Jongwook "Wookie" Kim 11020
                   P.O. Box 3410 Honolulu, Hawai'i 96801
                   Tel: (808) 522-5905; Fax: (808) 522-5909; Email: wkim@acluhawaii.org



         7.        CM/ECF: Filing documents electronically/Receiving e-mail notification.
                   Full participation. I am requesting a waiver of the required CM/ECF training. I am a registered user of
                   CM/ECF in the following Bankruptcy and/or District Court(s):


                   Full participation. Computer Based Training (CBT) completed. I have completed CBT modules
                   1 and 2 currently available on the USDC District of Hawaii website at: www.hid.uscourts.gov

                   a.      I will abide by all orders, rules, and administrative procedures governing the use of my login and password
                           and the electronic filing of documents in the CM/ECF system of the United States District Court for the
                           District of Hawaii.
                   b.      Use of my CM/ECF User login and password constitutes my signature on an electronically filed document for
                           all purposes and shall have the same force and effect as if I had affixed my signature on a paper copy of the
                           document being filed (full participation registrants only).
                   c.      I may authorize one or more employees or office staff members to use my login and password for the
                           electronic filing of a document. However, such use constitutes my signature on the electronically filed
                           document. I will not knowingly permit use of my login and password by anyone not so authorized, I shall take
                           steps to prevent such unauthorized use, and I shall be fully responsible for all use of the login and password
                           whether authorized or unauthorized. If authorization to use a login and password is withdrawn (e.g., when a
                           staff member leaves employment) or if unauthorized use of a login and password is suspected, I shall select
                           and activate a new password for use in the CM/ECF system. I also shall immediately notify the court upon
                           learning of any unauthorized use. I understand that failure to change the password and notify the court may
                           result in sanctions (full participation registrants only).
                   d.      This registration constitutes my waiver of service of a paper copy of a notice and a request in writing that,
                           instead of notice by mail, notice be sent to me by electronic transmission through the court’s CM/ECF system.
                           This also constitutes my consent in writing to accept service of documents by e-mail through the CM/ECF
                           system. I will maintain an active e-mail account for notice and service by electronic transmission, and will
                           keep such e-mail account information current in my CM/ECF User account.

I declare under penalty of perjury that the foregoing is true and correct. (Attach any additional pages if any
further explanation is needed)


Dated:        9/25/2024
                                                                                                   Signature

                                                  CONSENT OF LOCAL COUNSEL
                                   (Local counsel may sign below if consent is not recorded elsewhere.)


Dated:        9/25/2024                                                                  /s/ Jongwook "Wookie" Kim
                                                                                                  Signature
